Case:17-02159-MCF13 Doc#:60 Filed:02/21/20 Entered:02/21/20 11:08:04              Desc: Main
                     UNITEDDocument
                             STATES BANKRUPTCY
                                       Page 1 of 8COURT
                          DISTRICT OF PUERTO RICO

  IN THE MATTER OF:                                      CASE NO: 17-02159 MCF
  NARDY AWILDA VELEZ SANTAELLA
  Debtor(s)                                              CHAPTER 13

               NOTICE OF POST CONFIRMATION MODIFICATION OF PLAN

 TO THE HONORABLE COURT:

        COMES NOW, debtor(s) through the undersigned attorney and to this Honorable

 Court respectfully state(s), allege(s) and pray(s) as follows:
    1. Debtor(s) is submitting an amended plan dated February 21, 2020, with this
           Notice. The purpose of the amended plan is to clarify part 4.6.

    2. That the plan herein attached complies with the provisions of the Chapter 13 and
        all other applicable provisions of title 11 of the United States Code. The plan has
        been proposed in good faith and not by any means forbidden by law. The value
        as of the effective date of the plan, of property to be distributed under the plan
        on account of each allowed unsecured claims is not less than the amount that
        would be paid on such claims if the estate of the debtor were liquidated under
        chapter 7 of the Bankruptcy Code on such date; and Debtors will be able to
        make all payments under the plan and to comply with the plan.
    WHEREFORE, it is respectfully requested from this Honorable Court to approve the

 attached post confirmation plan dated February 21, 2020.

                                     21 DAYS NOTICE:
 Within twenty-one (21) days after service as evidence by the certification, and an

 additional three (3) days pursuant to Fed. R. Bank. P. 9006(f) if you were served by

 mail, any party against whom this paper has been served, or any other party to the

 action who objects to the relief sought herein, shall serve and file an objection or other

 appropriate response to this paper with the Clerk’s office of the U.S Bankruptcy Court

 for the District of Puerto Rico. If no objection or other response is filed within the time

 allowed herein, the objection will be deemed unopposed and may be granted unless:
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 (1) the requested relief is forbidden by law.Page
                                 Document      (2) The
                                                    2 of requested
                                                          8        relief is against public

  policy; or (3) in the opinion of the Court, the interest of justice requires otherwise.

        CERTIFICATE OF SERVICE: I hereby certify that on this same date the foregoing

  motion was filed with the Clerk of the Court using the CM/ECF system, which will send

  notification of such filing to all CM/ECF participants.

  Respectfully submitted,

  In Bayamon to San Juan, Puerto Rico this February 21, 2020.


                                                 JAIME RODRÍGUEZ LAW OFFICE, PSC
                                                 Attorney for Petitioner(s)
                                                 Urb. Rexville, BB21 calle 38
                                                 Bayamon, PR 00957-4135
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                                                 bayamonlawoffice@yahoo.com

                                                 ELECTRONICALLY FILED
                                                 S/ Jaime Rodríguez-Pérez, Esq.
                                                 USDC-PR 221011
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                                                               IN THE UNITED STATES BANKRUPTCY COURT
                                                                    FOR THE DISTRICT OF PUERTO RICO

 In Re:                                                                             Case No.: 17-02159 MCF
 NARDY AWILDA VELEZ SANTAELLA
                                                                                    Chapter 13
 xxx-xx-6705
                                                                                          Check if this is a pre-confirmation amended plan

                                                                                          Check if this is a post confirmation amended plan
                                                                                          Proposed by:
 Puerto Rico Local Form G                                                                           Debtor(s)
                                                                                                    Trustee
                                                                                                    Unsecured creditor(s)
 Chapter 13 Plan dated                       February 21, 2020
                                                                                          If this is an amended plan, list below the sections of the plan that have
                                                                                          been changed.
                                                                                          4.6



PART 1: Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
                           do not comply with local rules and judicial rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one. The headings contained in this plan are inserted for reference purposes only and shall
                           not affect the meaning or interpretation of this plan.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection
                           to confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the
                           Bankruptcy Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed.
                           See Bankruptcy Rule 3015. In addition, you must file a timely proof of claim in order to be paid under this plan, unless ordered
                           otherwise.

                           If a claim is withdrawn by a creditor or amended to an amount less than the amount already disbursed under the plan on
                           account of such claim: (1) The trustee is authorized to discontinue any further disbursements to related claim; (2) The sum
                           allocated towards the payment of such creditor’s claim shall be disbursed by the trustee to Debtor’s remaining creditors.
                           (3) If such creditor has received monies from the trustee (Disbursed Payments), the creditor shall return funds received in
                           excess of the related claim to the trustee for distribution to Debtor’s remaining creditors. (4) If Debtor has proposed a plan
                           that repays his or her creditors in full, funds received in excess of the related claim shall be returned to the Debtor.

                           The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether or not
                           the plan includes each of the following items. If an item is checked as “Not included” or if both boxes are checked, the
                           provision will be ineffective if set out later in the plan.

 1.1         A limit on the amount of a secured claim, set out in Section 3.2, which may result in                  Included                    Not Included
             a partial payment or no payment at all to the secured creditor
 1.2         Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                    Included                    Not Included
             set out in Section 3.4.
 1.3         Nonstandard provisions, set out in Part 8.                                                             Included                    Not Included


PART 2: Plan Payments and Length of Plan

2.1          Debtor(s) will make payments to the trustee as follows:

        PMT Amount                               Period(s)               Period(s) Totals                                   Comments
               $465.00 25                                                          $11,625.00
               $755.00 35                                                          $26,425.00
Puerto Rico Local Form                                                         Chapter 13 Plan                                                      Page 1
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 Debtor                NARDY AWILDA VELEZ SANTAELLA                                                            Case number     17-02159

           Subtotals                           60 Months                                     $38,050.00

Insert additional lines if needed

             If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the
             payments to creditors specified in this plan.

2.2          Regular payments to the trustee will be made from future income in the following manner:

             Check all that apply
                    Debtor(s) will make payments pursuant to a payroll deduction order.
                    Debtor(s) will make payments directly to the trustee.
                    Other (specify method of payment):

2.3          Income tax refunds:

             Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the return and
             will comply with 11 U.S.C. § 1325(b)(2). If the Debtor(s) need(s) to use all or a portion of such “Tax Refunds,” Debtor(s) shall seek court
             authorization prior to any use thereof.

2.4          Additional payments:

             Check one.
                     None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

PART3: Treatment of Secured Claims

3.1          Maintenance of payments and cure of default, if any.

             Check one.
                     None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
                     The Debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes
                     required by the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either
                     by the trustee or directly by the Debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full
                     through disbursements by the trustee, with interest, if any, at the rate stated, pro-rated unless a specific amount is provided
                     below. Unless otherwise ordered by the court, the amounts listed on a proof of claim filed before the filing deadline under
                     Bankruptcy Rule 3002(c) control over any contrary amounts listed below as to the current installment payment and arrearage. In
                     the absence of a contrary timely filed proof of claim, the amounts stated below are controlling. If relief from the automatic stay is
                     ordered as to any item of collateral listed in this paragraph, then, unless otherwise ordered by the court, all payments under this
                     paragraph as to that collateral will cease, and all secured claims based on that collateral will no longer be treated by the plan. The
                     final column includes only payments disbursed by the trustee rather than by the Debtor(s).

 Name of Creditor              Collateral                            Current installment       Amount of            Interest rate on Monthly PMT on       Estimated
                                                                     payments                  arrearage (if any)   arrearage        arrearage            total
                                                                     (including escrow)                             (if any)                              payments by
                                                                                                                                                          trustee


                                                                     Disbursed by:
                                                                        Trustee
                                                                        Debtor(s)
Insert additional claims as needed.

3.2          Request for valuation of security, payment of fully secured claims, and modification of undersecured claims.

             Check one.

                          None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

3.3          Secured claims excluded from 11 U.S.C. § 506.

             Check one.
                     None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
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3.4          Lien Avoidance.

             Check one.
                     None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5          Surrender of collateral.

             Check one.
                     None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

3.6          Pre-confirmation adequate protection monthly payments (“APMP”) to be paid by the trustee.

                  Payments pursuant to 11 USC §1326(a)(1)(C):

               Name of secured creditor                                       $ Amount of APMP                                  Comments


 JEFFERSON CAPITAL SYSTEM LLC                                                 160.00

             Insert additional claims as needed.

             Pre-confirmation adequate protection payments made through the plan by the trustee are subject to the corresponding statutory fee.

3.7          Other secured claims modifications.

             Check one.

                          None. If “None” is checked, the rest of § 3.7 need not be completed or reproduced.


                          Secured claims listed below shall be modified pursuant to 11 U.S.C. § 1322(b)(2) and/or § 1322(c)(2). Upon confirmation, the
                          trustee shall pay the allowed claim as expressly modified by this section, at the annual interest rate and monthly payments
                          described below. Any listed claim will be paid in full through disbursements by the trustee, with interest, if any, at the rate stated,
                          pro-rated unless a specific amount is provided below. Unless otherwise ordered by the court, the amounts listed on a proof of
                          claim filed before the filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed below. In the
                          absence of a contrary timely filed proof of claim, the amounts stated below are controlling.If no monthly payment amount is
                          listed below, distribution will be prorated according to plan section 7.2.

 Name of               Claim ID#             Claim            Modified         Modified      Modified P&I    Property   Property    Total           Estimated total
 creditor                                    Amount           interest rate    term                          taxes      Insurance   monthly         PMTs by trustee
                                                                               (Months)                      (Escrow)   (Escrow)    payment
JEFFERS ON
CAPITAL                                      CLAIM 3
 SYSTEM LLC $27,406.39                                                                                                                                         $27,406.39
                                                 To
                                             be paid
                                             in full
                                             100%

Insert additional claims as needed.

PART 4: Treatment of Fees and Priority Claims

4.1          General
             Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
             without postpetition interest.

4.2          Trustee’s fees
             Trustee’s fees are governed by statute and may vary during the term of the plan, nevertheless are estimated for confirmation purposes to be
             10 % of all plan payments received by the trustee during the plan term.


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4.3          Attorney’s fees

             Check one.

               Flat Fee: Attorney for Debtor(s) elect to be compensated as a flat fee for their legal services, up to the plan confirmation, according to
             LBR 2016-1(f).

OR

                Fee Application: The attorneys’ fees amount will be determined by the court, upon the approval of a detailed application for fees and
             expenses, filed not later than 14 days from the entry of the confirmation order.

                              Attorney’s fees paid pre-petition:                                                               $ 300.00
                              Balance of attorney’s fees to be paid under this plan are estimated to be:                       $ 3,140.00
                              If this is a post-confirmation amended plan, estimated attorney’s fees:                          $

4.4          Priority claims other than attorney’s fees and those treated in §§ 4.5, 4.6

             Check one.
                     None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

                          The Trustee shall pay in full all allowed claims entitled to priority under §507, §1322(a)(2), estimated in

              Name of priority creditor                                                      Estimate amount of claim to be paid

Insert additional claims as needed.
4.5       Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

             Check one.
                     None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.
4.6          Post confirmation property insurance coverage
             Check one.
                      None. If “None” is checked, the rest of § 4.6 need not be completed or reproduced.
Name of creditor insured                    Insurance Company         Insurance Company Insurance Estimated insurance                       Estimated total payments by
                                                                       begining date             premium to be paid                         trustee
                                           EASTER AMERICAN
JEFFERSON                                  INSURANCE                   03/2021
CAPITAL SYSTEM LLC                                                                                                $54.00                    $432.00
                                                                                                           Disbursed by:
                                                                                                           x Trustee
                                                                                                             Debtor(s)

PART 5: Treatment of Nonpriority Unsecured Claims

5.1          Nonpriority unsecured claims not separately classified.

             Allowed nonpriority unsecured claims that are not separately classified will be paid pro rata. If more than one option is checked, the option
             providing the largest payment will be effective.
               The sum of $         .
                     % of the total amount of these claims, an estimated payment of $        .
               The funds remaining after disbursements have been made to all other creditors provided for in this plan.
               If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately
               $ 1,921.00         .

5.2          Maintenance of payments and cure of any default on nonpriority unsecured claims.

             Check one.

                          None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3          Other separately classified nonpriority unsecured claims.
             Check one.

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                          None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

PART 6: Executory Contracts and Unexpired Leases

6.1          The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts and
             unexpired leases are rejected.

             Check one.

                          None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



PART 7: Vesting of Property of the Estate & Plan Distribution Order

7.1        Property of the estate will vest in the Debtor(s) upon
      Check the appliable box:
            Plan confirmation.
            Entry of discharge.
            Other:

7.2          Plan distribution by the trustee will be in the following order:
             (The numbers below reflect the order of distribution; the same number means prorated distribution among claims with the same number.)

             1. Distribution on Adequate Protection Payments (Part 3, Section 3.6)
             1. Distribution on Attorney’s Fees (Part 4, Section 4.3)
             1. Distribution on Secured Claims (Part 3, Section 3.1) – Current contractual installment payments
             2. Distribution on Post Confirmation Property Insurance Coverage (Part 4, Section 4.6)
             2. Distribution on Secured Claims (Part 3, Section 3.7)
             2. Distribution on Secured Claims (Part 3, Section 3.1) – Arrearage payments
             3. Distribution on Secured Claims (Part 3, Section 3.2)
             3. Distribution on Secured Claims (Part 3, Section 3.3)
             3. Distribution on Secured Claims (Part 3, Section 3.4)
             3. Distribution on Unsecured Claims (Part 6, Section 6.1)
             4. Distribution on Priority Claims (Part 4, Section 4.4)
             5. Distribution on Priority Claims (Part 4, Section 4.5)
             6. Distribution on Unsecured Claims (Part 5, Section 5.2)
             6. Distribution on Unsecured Claims (Part 5, Section 5.3)
             7. Distribution on General Unsecured claims (Part 5, Section 5.1)

             Trustee’s fees are disbursed before each of the distributions above described pursuant to 28 U.S.C. § 586(e)(2).

PART 8: Nonstandard Plan Provisions

8.1          Check "None" or list the nonstandard plan provisions
                    None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in
the Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

Each paragraph below must be numbered and labeled in boldface type, and with a heading stating the general subject matter of the
paragraph.

The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3.
   8.2. TAX REFUNDS: Tax refunds will be devoted each year, as periodic payments, to the plan's funding until plan
   completion the tender of such payments shall deem the plan modified by such amount, increasing the plan base thereby
   without the need of further notice, hearing or court order. If need be for the use by the Debtor(s) of a portion of such
   refund, Debtor(s) shall seek the Court's authorization prior to any use of funds.

      ALREADY PAID BY TRUSTEE TO BANCO POPULAR $194.54



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 Debtor                NARDY AWILDA VELEZ SANTAELLA                                    Case number       17-02159

Insert additional lines as needed.

PART 9: Signature(s)


       /s/ JAIME RODRIGUEZ PEREZ                                      Date    February 21, 2020.
       JAIME RODRIGUEZ PEREZ 221011
       Signature of Attorney of Debtor(s)




       /s/ NARDY AWILDA VELEZ SANTAELLA                               Date       February 21, 2020.
        NARDY AWILDA VELEZ SANTAELLA



By filing this document, the attorney for Debtor(s) or Debtor(s) themselves, if not represented by an attorney, also certify(ies) that the
wording and order of the provisions in this chapter 13 plan are identical to those contained in Local Form G (LBF-G), other than any
nonstandard provisions included in Part 8.




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